     Case 3:16-cv-00501-TWR-MSB Document 115 Filed 09/07/21 PageID.4731 Page 1 of 4



 1     Jeremiah Galus (Arizona Bar No. 030469)*
       Alliance Defending Freedom
 2
       15100 N. 90th Street
 3     Scottsdale, AZ 85260
       (480) 444-0020
 4
       jgalus@ADFlegal.org
 5
       Jacob E. Reed (Ohio Bar No. 99020)*
 6     Alliance Defending Freedom
 7     20116 Ashbrook Place, Suite 250
       Ashburn, VA 20147
 8     (571) 707-4655
 9     jreed@ADFlegal.org
10     Charles S. LiMandri (California Bar No. 110841)
       Paul M. Jonna (California Bar No. 265389)
11
       Jeffrey M. Trissell (California Bar No. 292480)
12     Freedom of Conscience Defense Fund
       P.O. Box 9520
13
       Rancho Santa Fe, CA 92067
14     (858) 759-9948
       cslimandri@limandri.com
15
       Attorneys for Plaintiff
16
17                               UNITED STATES DISTRICT COURT

18                           SOUTHERN DISTRICT OF CALIFORNIA

19
       SKYLINE WESLEYAN CHURCH,                      Case No.: 3:16-cv-00501-TWR-MSB
20
21                                 Plaintiff,        PLAINTIFF’S EX PARTE MOTION
                                                     TO SET SUPPLEMENTAL
22     v.                                            BRIEFING SCHEDULE
23
       CALIFORNIA DEPARTMENT OF                      No Oral Argument Requested
24     MANAGED HEALTH CARE;
25     MICHELLE ROUILLARD, in her official
       capacity as Director of the California
26     Department of Managed Health Care,
27
                                    Defendants.
28
                                                    1
                   Plaintiff’s Ex Parte Motion to Set Supplemental Briefing Schedule
                                                                            3:16-cv-00501-TWR-MSB
     Case 3:16-cv-00501-TWR-MSB Document 115 Filed 09/07/21 PageID.4732 Page 2 of 4



 1           Plaintiff Skyline Wesleyan Church (“Skyline”), by and through counsel,
 2     respectfully moves this Court for an Order setting a special briefing schedule for
 3     supplemental briefs in support of motions for summary judgment. This motion is
 4     supported by the attached Memorandum of Points and Authorities and the Declaration of
 5     Jeremiah Galus. No oral argument is requested. Skyline moves the Court to include the
 6     following provisions in any such schedule:
 7           1.      Good cause exists to set a briefing schedule for supplemental briefs in
 8     support of motions for summary judgment.
 9           2.      The parties shall comply with the following briefing and hearing schedule
10     for any supplemental briefs in support of motions for summary judgment:
11                • Each party shall file a supplemental brief no later than October 11, 2021;
12                • Each party may file an opposition to the other party’s supplemental brief for
13                   summary judgment no later than October 25, 2021;
14                • No party shall file a reply in support of their supplemental motion for
15                   summary judgment; and
16                • Any supplemental briefs and oppositions may not exceed 15 pages each;
17                • A hearing on the supplemental motions for summary judgment will be heard
18                   by the Court on November 10, 2021 (or another date selected by the Court).
19           3.      Any trial related dates shall be scheduled, if necessary, after the Court
20     resolves any dispositive motions.
21
22     Dated: September 7, 2021                Respectfully submitted,
23
                                               s/ Jeremiah Galus
24                                             Jeremiah Galus (AZ Bar No. 030469)*
25                                             Alliance Defending Freedom
                                               15100 N. 90th Street
26                                             Scottsdale, AZ 85260
27                                             (480) 444-0020
                                               jgalus@ADFlegal.org
28
                                                     2
                    Plaintiff’s Ex Parte Motion to Set Supplemental Briefing Schedule
                                                                                 3:16-cv-00501-TWR-MSB
     Case 3:16-cv-00501-TWR-MSB Document 115 Filed 09/07/21 PageID.4733 Page 3 of 4



 1
                                           Jacob E. Reed (Ohio Bar No. 99020)*
 2
                                           Alliance Defending Freedom
 3                                         20116 Ashbrook Place, Suite 250
                                           Ashburn, VA 20147
 4
                                           (571) 707-4655
 5                                         jreed@ADFlegal.org
 6
                                           Charles S. LiMandri (CA Bar No. 110841)
 7                                         Paul M. Jonna (CA Bar No. 265389)
                                           Jeffrey M. Trissell (CA Bar No. 292480)
 8
                                           Freedom of Conscience Defense Fund
 9                                         P.O. Box 9520
                                           Rancho Santa Fe, CA 92067
10
                                           (858) 759-9948
11                                         cslimandri@limandri.com
                                           pjonna@limandri.com
12
                                           jtrissell@limandri.com
13
                                           *Admitted pro hac vice
14
15                                         ATTORNEYS FOR PLAINTIFF
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  3
                 Plaintiff’s Ex Parte Motion to Set Supplemental Briefing Schedule
                                                                          3:16-cv-00501-TWR-MSB
     Case 3:16-cv-00501-TWR-MSB Document 115 Filed 09/07/21 PageID.4734 Page 4 of 4



 1
                                  CERTIFICATE OF SERVICE
 2
             I hereby certify that on September 7, 2021, service of the foregoing Plaintiff’s Ex
 3
       Parte Motion to Set Supplemental Briefing Schedule, Plaintiff’s supporting
 4
       Memorandum of Points and Authorities, and the Declaration of Jeremiah Galus were
 5
       made by way of the CM/ECF system. I certify that all participants in the case are
 6
       registered CM/ECF users and that service will be accomplished by the CM/ECF system.
 7
 8
       Dated September 7, 2021                            s/Jeremiah Galus
 9
                                                          Jeremiah Galus
10                                                        Attorney for Plaintiff
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                   4
                  Plaintiff’s Ex Parte Motion to Set Supplemental Briefing Schedule
                                                                              3:16-cv-00501-TWR-MSB
